     Case 7:17-cv-00009-O Document 206 Filed 09/10/18              Page 1 of 2 PageID 2653


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               WICHITA FALLS DIVISION


 BRENDA RHAMES, et al.,

                         Plaintiffs,

                 v.                                    Civil No. 7:17-cv-0009-O

 UNITED STATES OF AMERICA, et al.,

                         Defendants.


        DEFENDANTS’ MOTION TO DISMISS, OR, IN THE ALTERNATIVE, FOR
                         SUMMARY JUDGMENT

         Defendants the United States, Attorney General Jefferson B. Sessions, III, Hugh J.

Hurwitz, Jody R. Upton, and David R. Wilson, in their official capacities (“Defendants”), by

undersigned counsel, respectfully move the Court to dismiss Plaintiff’s Amended Verified

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(1). Alternatively, Defendants

move the Court to grant them summary judgment as to all of Plaintiff’s claims pursuant to

Federal Rule of Civil Procedure 56. The grounds for the instant Motion are set forth in

Defendants’ Memorandum, which will be filed separately. See Local Rule 56.3(b), 56.5(a).

//

//

//

//

//

//
  Case 7:17-cv-00009-O Document 206 Filed 09/10/18                    Page 2 of 2 PageID 2654


Dated: September 10, 2018                               Respectfully submitted,

                                                        JOSEPH H. HUNT
                                                        Assistant Attorney General

                                                        JOSHUA E. GARDNER
                                                        Assistant Director, Federal Programs Branch

                                                        s/ Kenneth E. Sealls
                                                        KENNETH E. SEALLS
                                                        D.C. Bar #400633
                                                        Trial Attorney
                                                        U.S. Department of Justice
                                                        Civil Division, Federal Programs Branch
                                                        20 Massachusetts Ave. N.W., Rm. 6136
                                                        Washington, D.C. 20530
                                                        phone: (202) 305-1953
                                                        fax: (202) 616-8460
                                                        email: Kenneth.Sealls@usdoj.gov

                                                        Counsel for Defendants



                               CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2018, I electronically filed a copy of the foregoing,

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to counsel for Plaintiff Brenda Rhames by operation of the Court’s electronic filing system, and I

hereby further certify that on September 10, 2018, I transmitted by electronic mail to Plaintiff

Jeanette Driever the foregoing, and that I placed it for mailing, first-class, postage prepaid, to

Plaintiff Driever, for September 11, 2018, to her at 4900 Wyoming Blvd., NE #41, Albuquerque,

NM 87111.

                                                       s/ Kenneth E. Sealls
                                                       KENNETH E. SEALLS
                                                       Trial Attorney
                                                       United States Department of Justice


                                                      2
